Case 1:09-Cv-00597-LI\/|B-TCB Document 41-21 Filed 10/23/09 Page 1 of 4 Page|D# 764

EXHIBIT T

Case 1:09-cv-00597-Li\/lB-TCB Document 41-21 Filed 10/23/09 Page 2 of 4 Pag@¢®¢¢l?@@

Roth, Melissa R.
From: Candess Hunter [candess@hhyiaw.com]

Sent: Thursday, October 15, 2009 4:15 Pi\/i

To: Dici<inson, lViichel|e J.

Subject: RE: NE| iaptop

Wrong. Read my lips ~ The NEl laptop Wli.i_ NOT remain in our ofhce for one more day. Your time is up.

Candess J. Hunterl Esq.

HUNTER, HUMPHREY & YAVITZ, Pi_C
2633 E indian School Rd, #440
Phoenix, Arizona 85016

602-275-7733 Telephone
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480-250-5637 Niobile
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intended recipient Any review or distribution by others is strictly prohibited if you are not the
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----- Original Nlessage ----
From: "Dickinson, Nliche|le J."
To: "Candess Hunter"

Sent: 10115/2009 12:44P|Vi
Subject: RE: NE| laptop

l did not see this emaii before | sent my last email. | assume ali issues are taken care of and you will provide us
with a date and time for the exchange and imaging of the tower.

From: Candess Hunter [maiito:candess@hhyiaw.com]
Sent: Thursday, October 15, 2009 3:19 PM

To: Dickinson, Michei|e J.

Subject: NEI laptop

Oniy 45 minutes to go and, iii dori't hear from youl l will make the choice for you. Either it will go to NEi's
ofhce here in our building or to the DLA Piper office in AZ (that l can see out my window). |Vial<e the choice
in the next 45 minutesl or l'i| make it for you. No more tooling around

Candess J. Hunter, Esq.

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10/23/2009

Case 1:09-cv-00597-Li\/lB-TCB Document 41-21 Filed 10/23/09 Page 3 of 4 Paig&pj¢gf€rp

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_ Original Nlessage --~--
From: CJi-i

To: "Dickinson, iV|iche|le J."
Sent: 10/15/2009 10:30Ai’vi
Subject: RE: FW: Re; NE| |aptop

Niicheiie` isabel is out of the ofnce todayl but | saw this email and must respond You were informed on
September 10 that NE| was ih possession of Joe‘s laptop, that it had no NE| data on it and that Joe wanted
it back immediately. The |aptop was in this building in AZ, but you and NE| refused to return it. and to make
matters worsel NE| removed it from the building and from Arizona (interstate transportation of stolen
goods), Now over a month iater, you finally send this email, acknowledging that everything Joe told you
about the |aptop was true. Let me make myself clearl you are holding stolen property. The police are `
being notihed. You can make all of the excuses that you want to, but continuing to hold someone eise's
property after they have demanded its return is theft Look it up_

Regarding NEi‘s computer, we have tried to return it to you, but you have not agreed to accept it. We tried
to deliver it to NE| right here in the building (as they are moving out) but they refused it, claiming they had
to talk to "their iawyer' first | WlLL NOT KEEP THiS COMPUTER |N 'i'i-i|S OFFiCE FOR ANOTHER
DAY. lt's your choice, either NE| accepts it downstairs or l will personally deliver it to the DLA Piper ofhce
at ‘i pm AZ time today Your choice |fi don't hear from you in the next two hours l will make the choice
for you.

Candess J. Hunter, Esq.

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---- Original Niessage ----
From: "Dickinson, Niicheiie J."
To:

Sent: 10/14/2009 5:31PM
Subject: Re: NE| |aptop

isabei,

Our computer consultants have determined that there is no NEI data on the laptop that Joe returned to NEI a year ago.
Accordingiy, we are prepared to make arrangements for the exchange of the laptops and imaging of the tower. Piease
advise as to when Joe can get the tower out of storage for imaging so that we can set this up.

Michelle J. Dickinson

D[i,A Piper LLP (US)

6225 Smith Avenue

Baltimore, Maryiand 21209-3600
(410) 580-413'1‘ Direct Phone
(410) 580*3137 Direct Fax
michelie.dickinson@diapiper.com

10/23/2009

Case 1:09-cv-00597-Li\/lB-TCB Document 41-21 Filed 10/23/09 Page 4 of 4 Pa©@é)#db?

ATTORN EY WORK PRODUCT

----- Original Messagc -----

From: Isabel M Humphrey <isabel@hhylaw.com>
To: Dickinson, Michelle J.

Sent: Wed 0ct 14 14:49: 12 2009

Subject: RE: NEI laptop

Miche||e, we are not comfortable continuing to hold onto NEI’s laptop. l repeatedly tried to get instructions from you
to return it, and you would not give me the name of someone at NEI authorized to accept it. You said you would send
a computer consultant last week to pick it up, but we have heard nothing We just sent a staff member downstairs to
NEI's office to return it, and they rehised to accept it. li` you don't make other arrangements by the end of today, we
will put the |aptop in a FedEx box and ship it to you.

In the meantime, Joe has contacted police regarding NEI's continued refusal to return his laptop.

isabel M. Humphrey, Esq.

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